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                                                 United States Bankruptcy Court
                                                  Eastern District of Kentucky

IN RE:                                                                                        Case No. 3:14-bk-30391
McDonald, Nathan Dwayne & McDonald, Katie Joann                                               Chapter 13
Debtor
                                                        CHAPTER 13 PLAN
                                      [ ] Original    [X ] Amended    Date: December 16, 2014.

NOTICE TO CREDITORS: This plan may modify your rights. If you oppose any provision of the plan you must file an
objection with the Bankruptcy Court by the deadline fixed by the Court. If you do not file a timely objection, you will have
accepted the terms of the plan, and the plan can be confirmed without further notice or hearing.

Reference to “Debtor”herein shall include both Debtors in a joint case.

I. PLAN PAYMENTS. The Debtor shall pay to the Trustee (check one):

[X] $ 740.00 each month

[ ] Plan payments shall be made to the Trustee by Payroll Deduction: (specify [ ] H or [ X ] W in joint case)

               Employer Name:      University of Kentucky
               Address:            340 Peterson Service Building
                                   Lexington, KY 40506


II. SECURED CLAIMS.

A. Secured Claims To Be Paid Through the Plan and Motion to Value Collateral.

    1. Pre-Confirmation Adequate Protection Payments; Post-Confirmation Adequate Protection Payments to be Paid
Concurrently with Debtor's Attorney’       s Fee. Pre-confirmation adequate protection payments to the following Creditors holding
allowed secured claims shall be paid by the Trustee through the plan as provided below. Adequate protection payments shall not
accrue or be paid until the Creditor files a proof of claim. The principal amount of the Creditor's claim shall be reduced by the
amount of the pre-confirmation adequate protection payments remitted. Payments will continue as provided below after confirmation
until the attorney's fee for debtor's counsel is paid in full.

                                                                                                                           Adequate
                                                                                                                          Protection
Secured Creditor                                          Collateral Description                                    Monthly Payment
None

    2. Secured Claims Valued Under § 506. The Debtor moves the Court to value collateral as follows according to 11 U.S.C. §
506(a). Each of the following secured claims, if allowed, shall be paid through the plan until the secured value or the amount of the
claim, whichever is less, has been paid in full. Any remaining portion of the allowed claim shall be treated as a general unsecured
claim. Any claim with a secured value of $0 shall be treated as a general unsecured claim.

                                                                          Estimated
                                                                         Amount of                           Interest         Monthly
Secured Creditor                  Collateral Description                      Claim     Secured Value         Rate *          Payment
All Financial                     2011 Chevrolet Equinox                 $19,293.32        $14,700.00           5.25          $284.00

* If blank, the interest rate shall be the WSJ Prime Rate on the date of confirmation plus 2 percentage points. An allowed secured tax
claim shall be paid with interest at the applicable statutory rate in effect on the date on which the plan is confirmed, notwithstanding
any contrary provision in the plan.
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    3. Secured Claims Not Subject to Valuation Under § 506. Each of the following claims, if allowed, shall be paid through the
plan until the amount of the claim as set forth in the Creditor ’
                                                                s proof of claim has been paid in full.

                                                                                               Estimated
                                                                                               Amount of        Interest        Monthly
Secured Creditor                            Collateral Description                                  Claim        Rate *         Payment
Huntington National Bank                    2007 F-150                                        $13,306.00            5.25         $265.00
*If blank, the interest rate shall be the WSJ Prime Rate on the date of confirmation plus 2 percentage points. An allowed secured tax
claim shall be paid with interest at the applicable statutory rate in effect on the date on which the plan is confirmed, notwithstanding
any contrary provision in the plan.

    4. Lien Retention. The holder of any allowed secured claim provided for by the plan shall retain a lien until a condition
specified in 11 U.S.C. §1325(a)(5)(B)(i)(I) occurs, at which time the lien shall be released.

B. Curing Defaults and Maintaining Payments on Mortgages and Other Secured Debts.

     1. Payments by Debtor. The Debtor shall pay each claim listed below, except any prepetition arrearage, by making payments
directly to the Creditor according to the underlying contract. Except as otherwise provided in the plan, any allowed claim for
prepetition arrearages shall be paid through the plan until the amount of the arrearage as set forth in the Creditor's proof of claim
has been paid in full.

                                                                                                           Estimated
                                                                                                           Amount of
Secured Creditor                                    Collateral Description                                 Arrearage
                                                    Debtors' primary residence located at 2082
                                                    Osprey Cove, Shelbyville, KY 40065; 1,610
                                                    sq. ft. with 3 bedrooms, 2 bathrooms, 2 car
Wells Fargo                                         garage, on .5 acre lot                                   $259.04
If the arrearage claim is to cure a default in an agreement that was entered into after October 22, 1994, no interest shall accrue or be
paid on the claim. With respect to all other agreements, the interest rate shall be the contract rate.

    2. Payments by Third Party. The following claims, including any amount for prepetition arrearages, shall be paid by a
non-filing third party making payments directly to the Creditor according to the underlying contracts.

                                                                            Name of Party Making
SecuredCreditor                       Collateral Description                Payments                     Relationship to Debtor
None                                                                        To be provided on request of Trustee or a Creditor.

C. Surrender of Property. The Debtor surrenders the following property. Upon confirmation the automatic stay and co-debtor stay
are terminated as to the collateral being surrendered and the provisions in Section II.D. of the plan ( “
                                                                                                        Orders Granting Relief From
Stay” ) apply.

Secured Creditor                                                     Collateral Description
None

D. Orders Granting Relief From Stay. If at any time during the life of the plan an order terminating the automatic stay is entered,
no further distributions shall be made to the Creditor until such time as an amended claim for the remaining unpaid balance is filed
and allowed. Pursuant to Local Rule 4001-1, a creditor whose claim is secured by personal property and paid by the Trustee under
the plan shall have 90 days from termination of the stay in which to file an amended claim for the remaining unpaid balance unless
this time period is extended by agreement with the Trustee or order of the Court. A creditor whose claim is secured by real property
shall have 180 days from termination of the stay, unless this time period is extended by agreement with the Trustee or order of the
Court, in which to file an amended claim for the remaining unpaid balance.

E. Avoidance of Liens under 11 U.S.C. §-522(f). The Debtor will file a separate motion pursuant to Local Rule 4003-2 to avoid the
liens of the following creditors under 11 U.S.C. §-522(f). Except to the extent the plan provides otherwise, the allowed claims of
such creditors shall be treated as general unsecured claims.

Secured Creditor                                                     Collateral Description
None
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F. All Other Secured Claims. An allowed secured claim not provided for in the plan shall be classified in a junior class of secured
claims that will be paid through the plan on a pro rata basis with all other allowed secured claims in the class. Each allowed claim in
the class will be paid to the extent of the value of the collateral set forth in the Creditor's proof of claim or the amount of the allowed
claim, whichever is less, with interest at the WSJ Prime Rate on the date of confirmation or the date on which the proof of claim is
filed, whichever is later, plus 2 percentage points, or if a secured tax claim, with interest at the applicable statutory rate in effect on
the date on which the plan is confirmed.. Allowed administrative expenses shall be paid in full prior to distribution to this class of
secured claims.

III. PRIORITY CLAIMS

A. All claims entitled to priority under section 507 (including administrative expenses) shall be paid in full. Except to the extent the
plan provides otherwise, all expenses entitled to administrative priority under section 507(a)(2) shall be paid in full prior to
distribution to any other class of claims entitled to priority. All other classes of claims entitled to priority shall be paid concurrently
on a pro rata basis.

B. Trustee's Fee. The percentage fee payable to the Trustee shall be paid before or at the time of each payment to creditors and other
claimants. The Trustee is authorized to collect the statutory percentage fee at the time of distribution of pre-confirmation adequate
protection payments. The percentage fee is fixed by the United States Trustee and cannot be modified by the plan.

C. Attorney's Fee.
1. Counsel for the debtor requests compensation as follows:
a.    Pursuant to KYEB LBR 2016-2(a) an attorney's fee for Debtor's counsel shall be allowed in the amount of $ _______ (not to
exceed $3,500). Of this amount, the debtor paid $ _______ prior to the filing of the petition, leaving a balance of $ 0.00 to be paid
through the plan. (The Debtor/Attorney for Debtor have complied with KYEB LBR 2016-2(a) and this must match the Rule 2016(b)
Disclosure of Compensation of Attorney For Debtor(s)). Any additional requests for fees or expenses will be requested by separate
application
OR
b.    An attorney's fee for Debtor's counsel will be requested by separate application and shall be paid as allowed by the Court.
2. Until the allowed attorney's fee is paid in full, creditors holding secured claims (including arrearage claims) shall be paid only
adequate protection payments set forth in Section II.A. of the plan.

D. Domestic Support Obligations (“    DSO”   ). Unless otherwise provided in the plan, any allowed unsecured claim for a pre-petition
domestic support obligation shall be paid through the plan until the amount of the claim as set forth in the Creditor's proof of claim
has been paid in full.

E. Tax Claims. The allowed claim of any entity for taxes shall be paid according to the proof of claim unless otherwise ordered by
the Court.

IV. UNSECURED CLAIMS.

A. Minimum Amount Required for Distribution to Priority and Non-priority Unsecured Claims. The minimum amount
required for distribution to priority and non-priority unsecured claims shall be the greater of: (1) the projected disposable income for
the applicable commitment period; (2) the amount required to satisfy the liquidation test; or (3) the amount required to pay priority
claims
in full.

B. General Unsecured Claims.

     1. The trustee shall calculate the “
                                        pool”amount available for distribution to unsecured creditors. Creditors holding general
unsecured claims shall be paid on a pro rata basis to the greatest extent possible. No interest accruing after the date of the filing of
the petition shall be paid on the claims of creditors holding unsecured claims.

     2. Co-Signed Debts To Be Paid in Full. The following creditors holding unsecured claims for which a non-filing debtor is also
liable shall be paid in full, without interest, concurrently with other general unsecured claims.

Creditor                               Description of Claim                   Co-Signer                    Relationship to Debtor
None                                                                          To be provided on request of Trustee or a Creditor.

V. LEASES AND EXECUTORY CONTRACTS.
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A. Rejection of Leases and Surrender of Property. The Debtor hereby rejects the following leases and executory contracts and will
surrender the leased property. In addition, any lease or executory contract not specifically assumed below is deemed rejected. Upon
confirmation the automatic stay and co-debtor stay are terminated as to the leased property. No distributions shall be made to the
creditor until an amended claim for any deficiency is filed and allowed. Any allowed claim for a deficiency shall be treated as a
general unsecured claim.

Creditor                                                            Description of Leased Property or Nature of Contract
None

B. Curing Defaults and Retaining Leased Property. The Debtor shall pay the following unexpired leases or executory contracts,
except any prepetition arrearage, by making payments directly to the Creditors according to the underlying contracts. Unless
otherwise provided in the plan or Court order, any allowed claim for prepetition arrearages relating to the lease or contract shall be
paid through the plan concurrently with secured claims.

                                                                                                          Estimated            Monthly
                                                  Description of Leased Property or Nature of             Amount of         Payment on
Creditor                                          Contract                                                Arrearage          Arrearage
None

VI. GENERAL PROVISIONS.

A. Claims will be paid in accordance with the plan only to the extent funds are available.

B. Claims of different classes may be paid concurrently if sufficient funds are available.

C. The trustee is authorized to extend the duration of the plan as necessary to pay allowed expenses and claims as provided in the
plan; however, the plan may not provide for payments over a period that is longer than 5 years. The trustee is authorized to adjust
the amount of the monthly payment disbursed to each secured creditor as may be necessary in the administration of the plan

D. As soon as practicable after the claims bar date, the trustee will file and serve on all creditors a Notice of Allowance of Claims,
which will set forth the treatment of all claims and project the anticipated distribution to unsecured creditors. To the extent there is a
conflict between the Notice of Allowance of Claims and the confirmed plan, the provisions of the Notice of Allowance of Claims will
control.

VII. SPECIAL PROVISIONS.

A. The Debtor attaches hereto and incorporates herein the following amendments (check all that apply):

       Plan Payment Schedule

       Add Proceeds from Personal Injury or Other Cause of Action

       Add Proceeds from Sale of Property

       Add Proceeds from Inheritance or Other Right to Receive Income or Property

       Other:    Debtors shall make all student loan payments "outside the plan" and the Chapter 13 Trustee shall not be
                 responsible for any student loan payments.
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B. The Debtor proposes the following special provisions.
None


DATED: December 16, 2014

/s/ Nathan D. McDonald
DEBTOR
/s/ Katie J. McDonald
DEBTOR
/s/ John C. Robinson
ATTORNEY FOR DEBTOR

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